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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE
COMMISSION,

           Plaintiffs,

     vs.                                 CIVIL ACTION No. 23-cv-10210-VSB

NADIM AHMED a/k/a NADIM KHAN,
MEHREEN SHAH a/k/a MONA SHAH,            JURY TRIAL DEMANDED
NURIDE TRANSPORTATION GROUP,
LLC, NYC GREEN TRANSPORTATION
GROUP, LLC, MED TRANS EB-5 FUND,
LLC, NYC EV MOBILITY LLC,
GRAVITAS NYC REGIONAL CENTER,
LLC f/k/a NYC TRANSPORTATION
REGIONAL CENTER, LLC, and MONA
SHAH & ASSOCIATES, PLLC,
             Defendants.




  DEFENDANTS MONA SHAH, MONA SHAH & ASSOCIATES, PLLC, GRAVITAS
     NYC REGIONAL CENTER LLC, AND MED TRANS EB-5 FUND, LLC’S
     REPLY MEMORANDUM IN SUPPORT OF THE MOTION TO DISMISS



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                                               Med Trans EB-5 Fund, LLC
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       The Shah Defendants 1 respectfully submit this Reply Memorandum 2 in support of their

Motion to Dismiss (“Motion”) Plaintiff Securities and Exchange Commission’s (“SEC”)

Complaint. (ECF Nos. 28-29.)

                                        INTRODUCTION

       In its opposition, rather than direct the Court to specific allegations as to when the alleged

violations of Sections 5(a) and 5(c) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C.

§§ 77e(a) and 77e(c)] (“Section 5”) occurred, the SEC incorrectly claims, without support, that it

has carried its pleading burden because at least a portion of the alleged time periods for each of

the three offerings narrowly extend within the applicable five-year statute of limitations. See

generally ECF 48 (“Opposition”), Section II. Establishing a prima facie securities violation

requires more than showing that a violation may have occurred within the limitations period.

Instead, the SEC must plead sufficient non-conclusory facts showing that a violation did occur

within the limitations period. The Complaint falls short here.

       The Complaint contains no well-pleaded allegations establishing unaccredited

investments in each of the three EB-5 projects within the applicable five-year limitations period

for the sole Section 5 claim against the Shah Defendants. Despite possessing an arsenal of

documents produced in the SEC’s investigation, and despite having taken testimony from key

witnesses, including Mona Shah, the SEC does not allege that any investor was in fact


1
 The capitalized terms have the same meaning ascribed to them in Memorandum of Law in
Support of Defendants Mona Shah, Mona Shah & Associates, PLLC, Gravitas NYC Regional
Center LLC, and Med Trans EB-5 Fund, LLC’s Motion to Dismiss. (ECF 29.)
2
 The Shah Defendants join in the reply arguments asserted by the NuRide Defendants with
respect to the applicable statute of limitations for the three offerings at issue: (i) NYC Green; (ii)
Med Trans; and (iii) EV Mobility, including that each offering was entirely separate from the
other, such that the SEC must plead that the investments took place within the limitations period
for each respective offering. (NuRide Defendants’ Reply Brief, pp. 3-6.)


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 unaccredited. Instead, the Complaint makes vague and conclusory allegations about at least “one

 investor’s eligibility form” indicating that the “investor was not accredited.” (Compl. ¶ 47.) This

 falls short. Acknowledging, as it must, that the three offerings were made pursuant to Regulation

 D exemption, the SEC’s entire theory of Section 5 liability is predicated on the unavailability of

 Regulation D by virtue of this purportedly unaccredited investor. Yet, the SEC declines to allege

 that any investor in fact was unaccredited—just that paperwork suggests “at least one investor”

 per offering may have been unaccredited—revealing how paper thin the Section 5 claim really is.

            Finally, given the SEC’s failure to plead that the investors here expected profits derived

 from the effort of others, the SEC has not adequately pled that the offerings were securities in the

 first place. For the reasons set forth in the Shah Defendants’ Motion, and as further supported

 herein, the Court should dismiss the Section 5 claim with prejudice.

I.          ARGUMENT

            Dismissal of the Shah Defendants is warranted for three reasons (i) the SEC has not pled

     a specific Section 5 violation within the applicable statute of limitations; (ii) the SEC’s

     Complaint pleads the existence of a Regulation D exemption, as it must, but does not sufficiently

     plead a failure to comply with the exemption requirements; and (iii) there are insufficient facts

     pled on the threshold question of whether the EB-5 offerings are securities under Howey. 3 These

 defenses are properly before the Court because the elements of a Section 5 claim are lacking, and

 the Court need not look beyond the pleadings to make this determination.

            The parties, the Court, and the interests of justice are best served by dismissing the SEC’s

 overbroad action from the outset because the SEC has not—and apparently cannot—contravene


 3
   This is an unsettled question of law open to disparate interpretations in this Circuit and beyond.
 Thus, EB-5 investments in the context of securities violations are susceptible to dismissal for
 failing to state a claim because it is unclear whether securities regulations even govern.


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these defenses by alleging this unidentified investor was in fact unaccredited, or otherwise

provide the Court sufficient assurances that investments occurred within the limitations period.

At a minimum, the SEC’s case-in-chief should be partially dismissed to include only the NuRide

offerings and investments within the ambit of the limitations period.

           A. The Availability of Injunctive Relief Does Not Preclude Dismissal

       The SEC correctly acknowledges that the National Defense Authorization Act for Fiscal

Year 2021 (“NDAA”) § 6501, 134 Stat. 3388, 4626 (2021), does not extend the five-year

limitations period for Section 5 claims seeking civil penalties—the only claim advanced against

the Shah Defendants. See Opposition, p. 19 (“Commission claims for civil penalties are subject

to a five-year statute of limitations under 28 U.S.C. § 2462.”). The SEC, however, is incorrect

that the NDAA’s expansion of the statute of limitations for equitable remedies functions to

revive its stale and otherwise insufficiently pled Section 5 claim.

       Specifically, the SEC conflates the limitations period for remedies contemplated by the

NDAA (i.e., injunctive relief), with the limitations period for its deficient cause of action (i.e.,

the Section 5 claim, governed by § 2462). (Id. at pp. 22-23.) But the availability of a timely

remedy depends on the viability of the underlying alleged violation to state a cause of action. Put

differently, because the Complaint fails to allege that the Shah Defendants violated Section 5

within the limitations period, there is no misconduct to enjoin, and hence no basis to apply the

longer limitations period to the only claim against the Shah Defendants.

       The SEC draws its equitable powers from Section 21(d)(1) and Section 20(b) of the

Securities Act, which allows the SEC to request an injunction enjoining violative conduct, or to

prevent those who threaten to violate securities in the imminent future. 15 U.S.C. § 78u(d)(5). To

warrant an injunction, though, the SEC must plead (and later prove) an imminent threat of future

illegal conduct on the part of the Shah Defendants to gain the benefit of the longer limitations


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period. See SEC v. Sharp, 626 F. Supp. 3d 345, 398-99 (D. Mass. Sept. 6, 2022) (reviewing

propriety of injunctive relief upon motion to dismiss and finding SEC injunctions are warranted

in instances where securities violations involve fraud or scienter because the “scienter and the

recurrent nature of the infractions” demonstrates the likelihood of future harm). Critically, the

Shah Defendants, who are not alleged to have committed fraud, pose no such threat, particularly

when there is no allegation that they acted with scienter.

       At bottom, an injunction serves no purpose as a stand-alone remedy when (i) there is no

prima facie securities violation; (ii) even assuming a violation, the conduct is not willful or

reckless; (iii) there has been no evidence of investor harm arising from the conduct of the Shah

Defendants; and (iv) the alleged misconduct has since been fully remediated. Thus, the line of

authority interpreting the NDAA as extending the limitations period for equitable relief is

irrelevant to whether the Section 5 claim should survive. The Section 5 claim should therefore be

dismissed as untimely under the applicable five-year limitations period, without regard to the

ten-year limitations period for injunctive relief.

       In light of the narrow statute of limitations window for actionable investments, it is more

plausible to conclude that most, if not all, of the investments in NYC Green will be precluded as

a matter of law. And though a different limitations period exists for Med Trans and EB-5, these

offerings likewise cannot form the basis for a Section 5 claim given the insufficient allegations

regarding Regulation D, as explained below.

       B.      On the Face of the Complaint, the Three NuRide Offerings Were Exempt
               from Securities Registration under Regulation D

       The Complaint fails to allege a viable Section 5 violation. As an initial matter the SEC

must allege that the Defendants failed to comply with Regulation D exemption, because it is

clear from the face of the Complaint that Regulation D exemption applied. The Complaint,



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however, falls short because it does not allege plausible, non-conclusory facts contravening the

exemption.

                    (1) The SEC Must Allege that the Shah Defendants Did Not Meet the
                        Requirements of Regulation D Exemption Because the Complaint Makes
                        its Application Clear

       The SEC argues—without citing any authority—that it generally has no obligation to

rebut an affirmative defense to a Section 5 claim. (Opposition, p. 31.) Where, however, as here,

the application of an exemption from registration appears on the face of a complaint, the Court

may dismiss a Section 5 claim for failing to adequately allege failure to comply with the

exemption. Jones v. Bock, 549 U.S. 199, 215 (2007) (articulating court’s authority to entertain

affirmative defenses upon motion to dismiss “if the allegations, for example, show that relief is

barred by the applicable statute of limitations, [then] the complaint is subject to dismissal for

failure to state a claim[.]”) To evade this canon of law, the SEC contends that no exemption is

clear on the face of the SEC’s complaint. (Opposition, p. 32.) But that is not the case:

       •     “Defendants purported to offer and sell securities in the NuRide EB-5
             Offerings without registration with the Commission pursuant to exemptions,
             including Regulation D of the Securities Act.” (Compl. ¶ 42.)

       •     “The NYC Green offering memoranda further stated that ‘“offers will be
             made only to investors who are ‘accredited investors’ as defined in Regulation
             D[.]”’ (Compl. ¶ 68.)

       •     “Med Trans’ offering memorandum stated, ‘“[we] offer the [i]nterests. . .
             pursuant to Rule 506(c) of Regulation D. . . [to] ‘accredited investors’ as
             defined in Rule 501 of Regulation D and whom the Company has verified as
             accredited investors.”’ (Compl. ¶ 139.)

       •     EV Mobility’s offering memorandum stated, “[we] offer the [i]nterests . . .
             pursuant to Rule 506(c) of Regulation D. . . [to] ‘accredited investors’ as
             defined in Rule 501 of Regulation D and whom the Company has verified as
             accredited investors.” (Compl. ¶ 154.)




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          The SEC concedes that MSA, at the direction of Mona, took steps to verify the

accreditation status of each NuRide investor. 4 These allegations, among others, put the

applicability of Regulation D at issue in the Complaint. Thus, the “allegations show the relief is

barred” by this defense. Jones v. Bock, 549 U.S. 199, 215 (2007).

                 (2)     The SEC’s Allegations Fall Short of Establishing Regulation D Exemption
                         Requirements Were Not Met

          The Court should dismiss the Section 5 claim as to all Defendants because the Complaint

nowhere alleges that any investor was in fact unaccredited. Instead, the SEC avers conclusory

allegations about information on investor eligibility forms.

          The SEC cites no authority for its proposition that an “unaccredited investor at any point

during the offering, renders the entire offering ineligible for exemption under Rule 506(c)[.]”.

(Opposition, p. 32.) Regardless, the Complaint falls short of alleging that the investors actually

were unaccredited. For example, citing to ¶ 9 of the Complaint, 5 and referencing the eligibility

forms, the SEC alleges “despite the clear indication that these investors were not accredited, the

Defendants permitted the investors to invest….” (Opposition, p. 31.) Though this conclusory

allegation should be disregarded, if the Court should consider it, this purported “indication” still

does not give rise to a plausible inference that the investor was unaccredited when the SEC, by

the same token, acknowledges that MSA took reasonable steps to verify each investors’

accreditation status. (Compl. ¶ 46.) Further, the allegations about the eligibility forms do not take

into consideration other information the Shah Defendants possessed (such as source of funds


4
  See Compl. ¶ 46 (“MSA Law employees, acting at [Mona’s] direction, provided investors with
an investor eligibility questionnaire to complete, which included a section to list assets, including
financial accounts and real property, the value and source of those assets, the investor’s
liabilities, overall net worth, and income.”).
5
    The allegation appears at ¶ 48 of the complaint, which is on page 9 of the complaint.


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forms), or the investors’ other financial criteria that MSA reviewed in addition to “financial

accounts and real property, the value and source of those assets, the investor’s liabilities, overall

net worth, and income.” Id.

       Thus, while the allegation concerning the “at least one” unaccredited investor is

conclusory (and should therefore be disregarded), more importantly, the allegation does not

vitiate Regulation D’s safe harbor because it was reasonable for MSA to rely on the investors’

financial information provided in response to the questionnaires the SEC concedes MSA gave

each investor. Aside from this conclusory and implausible allegation concerning “at least one

unaccredited investor,” there is no basis to find that an investment occurred within the limitations

period that was not otherwise exempted from registration by virtue of Regulation D, requiring

that the Shah Defendants be dismissed.

       Put succinctly, to defeat the application of the Regulation D exemption, the SEC must

allege that the investors were in fact unaccredited. Despite the SEC’s extensive pre-litigation

investigation, apparently the SEC did not obtain evidence that any investor was in fact

unaccredited. On this point, had the SEC obtained such evidence, then why not simply allege

“investor X was an unaccredited investor and invested in the offering on YY date, which was

within the 5-year statute of limitations”? It would turn every pleading standard on its head to

allow the SEC to proceed by extrapolating plausibility where it omits, rather than includes, the

essential and relevant factual material to state a colorable Section 5 claim.

       Because the SEC has not pled specific facts concerning the accreditation status of this

sole investor, Regulation D facially applies. The Shah Defendants therefore respectfully request

that the Court dismiss the Section 5 claim with prejudice and dismiss them from this action.




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       C.      The Complaint Allegations Do Not Satisfy the Howey Test 6

       Finally, the Court should dismiss the Section 5 allegations because the SEC has not

adequately pled that the offerings constituted securities in the first place. The SEC takes the

position that all EB-5 investments are per se securities. But neither the SEC nor the Second

Circuit have taken such a definitive position, and for good reason. Although termed an

“investment” in the parlance of the EB-5 industry, the overriding goal of EB-5 investors is

ostensibly to obtain a green card, not to earn profits derived from the efforts of others.

       The Howey test is fact-intensive. See SEC v. W.J. Howey Co., 328, U.S. 293 (1946)

(“investment contract” exists when a transaction involves “(1) an investment of money (2) in a

common enterprise (3) with an expectation of profits produced by the efforts of others (4) solely

from the efforts of the promoter or a third party.”) Most relevant here is the third prong of the

Howey test. In determining whether a transaction involves an “expectation of profit,” the Second

Circuit looks to both the “subjective intent of the purchasers,” as well as objective factors, such

as the “character of the instrument or transaction offered based on what the purchasers were led

to expect.” SEC v. Kik Interactive Inc., 492 F. Supp. 3d 169, 183 (S.D.N.Y. 2020).




6
  As explained in the Shah Defendants’ Motion, the procedural constraints of a motion to dismiss
presents obstacles in addressing issues that depend on argument and facts external to the
pleading, such as the fact intensive inquiry under Howey. For this reason only, Defendants
preliminarily addressed Howey in a footnote. To be clear, the Shah Defendants intend to preserve
this argument and, contrary to the SEC’s position, the Shah Defendants did not waive any
portion of this argument by making use of a footnote—it would be unnecessarily prejudicial to
find a waiver based on such a technicality. See Allianz Glob. Invs. GmbH v. Bank of Am. Corp.,
No. 18 CIV. 10364, 2020 WL 4927575, at *5 (S.D.N.Y. Aug. 21, 2020) (declining to find waiver
when “it is clear from the text that [litigant] did not intend to waive viable claims through the
footnote.”). In either event, the Shah Defendants now address this issue within the body of its
brief.




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       Looking first at the subjective factors, it is not reasonably disputable that the NuRide

investors were principally motivated by their desire to obtain permanent resident status in the

United States, which is the entire point of an EB-5 investment. The question then becomes

whether an ancillary motivation—the investors’ expectations concerning the small forecasted

returns described in the NuRide offering memoranda—is sufficient to satisfy the third prong of

Howey. On this question, the SEC invites the Court to hold that the mere “possibility of financial

return” creates an objective expectation of profit. Opposition, p. 7 (citing SEC v. Xia, No. 21-

CV-5350, 2022 WL 17539124, at *20 (E.D.N.Y. Dec. 8, 2022)). But in Xia, the case on which

the SEC relies, the character of the EB-5 offerings, along with the language of the offering

memoranda at issue, are distinguishable from the facts of this case.

       The EB-5 offerings in Xia promoted investments in elaborate real estate projects to build

luxury hotels across New York—an appreciating asset. Id. at *2. Whereas the NuRide offerings

promoted investments in transportation fleets—a depreciating asset. (See, e.g., Compl. ¶ 51)

(“according to its offering memoranda, [NYC Green] was to develop or assemble a fleet of for-

hire vehicles[.]”). Most importantly, though, the Xia offering memoranda promised investors

nearly a 100 percent share in profits realized on the hotel buildings, up until a full return of the

initial $500,000 investment. Id. at *20 (“100% [of the profits from investments will be

distributed] to the [EB-5 investor] until each [investor] has received US $500,000 in

distributions.”). In fact, one Xia offering guaranteed an “interest rate [at] 2% per annum” on the

initial $500,000. Id.

       By contrast, no such promises were made in the NuRide offering memoranda. The

maximum return to NuRide investors in connection with Med Trans and EV Mobility was “2.5%

of their capital contribution per annum, project performance permitting,” and for NYC Green,




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only 0.5 percent. (Compl. ¶¶ 61, 127, 151.) This fact, when coupled with the overarching

character of the EB-5 offering as patently immigration related, makes it more than reasonable to

reach the opposite conclusion of Xia, as this Circuit has done when there is a low threshold

return on the transaction. United States v. Daugerdas, 837 F. 3d 212, 223 (2d Cir. 2016)

(declining to draw an inference on expectation of profit because “low profit potential” failed to

satisfy objective factors, and subjective non-profit purpose for transaction predominated over

marginal possibility of profiting).

       This is a sensible outcome because the EB-5 program was created by Congress as a

policy to drive lawful immigration and stimulate job creation, not create a market for securities.

Accordingly, the Court should dismiss the Section 5 claim because the SEC has failed to plead

that the NuRide offerings are securities.

                                            CONCLUSION

       For the foregoing reasons, the Shah Defendants respectfully request that the Court grant

their Motion and dismiss the Section 5 claim against them with prejudice.


 Dated: New York, New York                   MCGUIREWOODS LLP
 April 1, 2024
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To:   All counsel of record (Via ECF)




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